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                         U N I T E D S T AT E S D I S T R I CT C O U RT
                           D I S T R I CT O F M A S S A C H US E T T S


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                             )
LEE HUTCHINS, SR.,           )
                             )                        CIVIL ACTION NO. 3:16-cv-30008
        Plaintiff,
                             )
     v.                      )
                             )
DANIEL J. MCKAY, FELIX M.    )
ROMERO, THOMAS HERVIEUX, and )
THE CITY OF SPRINGFIELD      )
                             )
        Defendants           )
____________________________________

   ________________________________________________________________________________

            JOINT MOTION TO VACATE JUDGMENT PURSUANT TO
                              FED.R.CIV.P. 60(b)
________________________________________________________________________

       NOW come Defendants, Daniel J. McKay, Felix M. Romero, Thomas Hervieux and the

City of Springfield and Plaintiff, Lee Hutchins Sr. and petition this Court, pursuant to Fed. R.

Civ. P 60(b), to vacate the Judgment entered in the above captioned matter on February 19, 2019.

As reasons therefore, the parties state:

       1. On February 19, 2019 this Court entered Judgment for the Plaintiff in the amount of

           two hundred fifty thousand dollars ($250,000.00).

       2. On May 8, 2019 the Parties participated in mediation before the Honorable Judge

           King.

       3. On May 8, 2019, the Parties reached a settlement agreement.

       4. As a condition of the settlement, the Parties agreed that the February 19, 2019

           judgment would be vacated upon court approval.
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       WHEREFORE, the Defendants, Daniel J. McKay, Felix M. Romero, Thomas Hervieux

and the City of Springfield and Plaintiff, Lee Hutchins Sr. request this Court vacate the judgment

entered in the above captioned matter in accordance with Fed. R. Civ. P 60(b)(5).

Respectfully Submitted:
The Defendants,
By their attorneys,

/s/ Lisa C. deSousa                                     /s/ Kevin B. Coyle
Lisa C. deSousa, Esq. BBO # 546115                      Kevin B. Coyle, Esq. BBO#103540
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The Plaintiff,
By his Attorney,

/s/ Luke Ryan
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                              Certificate of Service

       The undersigned hereby certifies that a true copy of the within Joint Motion to Vacate

Judgment was this day served upon all counsel via the Federal Court’s ECF Notice and delivery

System to all parties. I am unaware of any party who is a non-registered participant and therefore

electronic filing is the sole means of this document.

       SIGNED under the pains and penalties of perjury.

Dated: May 31, 2019                            /s/ Lisa C. deSousa
                                              Lisa C. deSousa, Esq.
